Case 1:05-cr-01849-JCH Document 2063-1 Filed 09/12/11 Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
v ) 05-1849 JH
)
Dana Jarvis, et.al. )
)
Defendant. )

DECLARATION OF PUBLICATION
In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www. forfeiture.gov) for at least 30 consecutive days, beginning on August 02, 2011

and ending on August 31, 2011. (See, Attachment 1).

I declare under penalty of perjury that the foregoing is true and correct. Executed on

Ln Ss LE

Feather Astor
FSA Paralegal/Legal Assistant

September 12, 2011 at Albuquerque, NM.

